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                                                   March 23, 2023

Via ECF
Hon. Lois Bloom, U.S.M.J.
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:     Plaintiff’s Fourth Motion to Compel and Request for Extension of Time to
               Complete Discovery
               1:21-cv-07183 (HG) (LB) Stidhum v. 161-10 Hillside Auto Ave., LLC, et al.

Dear Judge Bloom:

        This firm represents the Plaintiff, Leticia Francine Stidhum (hereafter referred to as
“Plaintiff”) in the above referenced matter. We write to the court respectfully to compel defendants
to produce (1) weekly car commission sales logs that were in Defendants’ possession pertaining
to Plaintiff Stidhum and her comparator car salesmen between November 2019 and January 2020,
and (2) text messages between parties pertaining to Ms. Stidhum or relating to any of the pregnancy
discrimination search terms.

        In accordance with Your Honor’s individual rules, we have requested that he set forth his
position with respect to our intended motion and the discovery extension necessitated by his failure
to produce documents. We have not heard back from him so will note his non-consent. We
apologize for the late filing—Plaintiff has been unsuccessful in attempting to schedule a meet and
confer with Defendant’s counsel since at least March 16, who is not available at any of the
proposed times for the meet and confer and insisted that he is only available to meet and confer on
Friday this week, the last day of discovery as current set forth by the Court.

       I.      Plaintiff Request this Court to Compel Defendants to Produce all Outstanding
               documents from both Document Production Request and any other Document
               Production Request

        Federal Rule of Civil Procedure 26(b)(1) provides for discovery—including depositions—
of matters that are nonprivileged, and that are relevant and proportional to the needs of the case
considering the importance of the issues, the amount in controversy, relative access to information,
the parties' resources, the importance of the discovery to resolving the issues, and the relative
burden of the expense involved versus the likely benefit. See Fed. R. Civ. P. 26(b)(1). Information
"is relevant if: '(a) it has any tendency to make a fact more or less probable than it would be without
the evidence; and (b) the fact is of consequence in determining the action." Vaigasi v. Solow Mgmt.
Corp., No. 11 Civ. 5088, 2016 U.S. Dist. LEXIS 18460, 2016 WL 616386, at *11 (S.D.N.Y. Feb.
16, 2016) (quoting Fed. R. Evid. 401). (United States v. Town of Oyster Bay & Town Supervisor
John Venditto, No. 14-CV-2317 (GRB)(SIL), 2022 U.S. Dist. LEXIS 2362 (E.D.N.Y. Jan. 3,
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2022)). Plaintiff can successfully show that the documents that plaintiff are looking for from
defendants fall well within the scope of discovery in the case.

        Plaintiff served her document production request to defendants on February 26, 2023, and
March 14, 2023. Plaintiff respectfully requests that the court compel defendants to produce all the
documents pertaining to the document production request. See Exhibit 3 and 4. These includes
document production that have not been produced that should have been from previous document
production requests, including but not limited to the text messages in question which relate to the
search terms relating to pregnancy discrimination as well as relating to Plaintiff herself. In fact,
contrary to Defendants’ counsel’s representation to the Court.

        Previously, Defendants have—pursuant to Court Order—supplemented their response to
Plaintiff’s Document Request No. 17 for “Any and all documents pertaining to Plaintiff’s car sales
from on ora bout May 2018 through January 14, 2019” with “Defendants identify documents Bates
stamped D28-D67” and further to Document Request No. 21 for “Any and all documents [sic]
concerning the compensation of comparator car salesmen employed by Defendants during the
relevant time period, including, without limitation, the following: a. all payroll records; b. copies
of Plaintiff's’ paychecks; c. paycheck receipts; d. records of cash payments; e. records of tips,
compensation therefore, and accounting therefore; f. records of commissions, compensation
therefore, and accounting therefore; g. records of vacation; h. records of holiday, and/or sick pay;
i. records of bonuses; and j. records of pay summaries” with “Response: Defendants identify
documents Bates stamped D1251-D1904.” See Exhibit 6.

        However, the sworn testimony of ISHAQUE THANWALLA, ANDRIS GUZMAN, and
corporate witness DEANNA JENNINGS (on behalf of both Corporate Defendants) underscores
that in fact Defendants have intentionally failed to turn over the weekly commission sales sheets
which accurately reflect the number of cars sold, the commissions earned for each individual. Thus
far, the only documents produced grossly underestimates the cars sold and by all accounts,
including Defendant ISHAQUE THANWALLA, is not an accurate reflection of the cars sold by
the dealership or by Plaintiff. It was disclosed by JENNINGS that the files are kept from the time
when Hillside Auto Outlet began business. Defendant’s Response to Document production
requests 17 and 21 are thus incorrect. Further, Plaintiff’s Document Production 15-18 all touch
upon information that would have been found on the commissions sheets that defendant withheld
from plaintiff. See Exhibit 5.

         Defendants’ conduct during the deposition (each of the witnesses except Ishaque
Thanwalla “forgot” to bring their phone to the deposition) suggests that additional text messages
were not produced despite being highly relevant to the present lawsuit. Specifically, Jory Baron
testified that he had two phones and that he left the “work phone” on which text messages with
Leticia Stidhum were kept in his home on March 3, 2023, Andris Guzman testified that he forgot
his iPhone on the way here, then Defendant’s counsel directed him not to answer whether his
attorney instructed him to leave his phone at home on March 9, 2023; and finally Deanna Jennings
testified that she left her phone in the car because she forgot to plug it in and wanted to be on time.
At least one witness, namely corporate witness Deanna Jennings, was instructed to not bring her
phone after the lunch break, in response to an email request by Plaintiff’s counsel to Defendants’
counsel for Ms. Jennings to bring her phone back during the phone break.
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       Further, during each of the depositions on February 24, March 3, March 9, and March 10,
Defendants produced text messages that were responsive to previous deposition requests
“voluntarily.” However, as set forth below, their voluntary production only included messages
between Defendants and Plaintiff and a single group text message between plaintiff and her other
coworkers.

        In their supplemental document response—per court order—in response to Plaintiff’s third
motion to compel, Defendants disclosed that documents were withheld solely for request: “21, 34,
43, 44, 45 (as to Andris Guzman only), 58, 75, 79, 80, 85, 89, 90, 91, and 92. See Exhibit 6.

       However, in fact messages between Plaintiff and Defendants that were voluntarily
produced show that Defendants have to produce messages pertaining to complaints regarding wait
time and car salesmen compensation despite stating that no documents were withheld on that basis.

       Thus, Plaintiff has demonstrated that in fact additional text messages exist, that Defendants’
conduct to “forget” their phones are designed to frustrate Plaintiff’s efforts to discover evidence
which can help prove her claim, and that Defendants have failed to comply with the Court order
granting in part Plaintiff’s third motion to compel. Further during each of the depositions of
Ishaque Thanwalla, Andris Guzman, and Jory Baron, documents were produced for the first time
“voluntarily” showcasing the text messages that are directly responsive to Plaintiffs’ previous
requests and to which Defendants claim they do not possess any responsive documents.

         As the crux of her claim is based on circumstantial evidence of the decrease in her pay due
to the increased wait time, Defendants’ failure to comply with their discovery obligations in good
faith is unreasonable.

      Plaintiff has sought such evidence in the second and third document production requests,
which specifies each of the two categories of requests that Defendants have failed to produce
documents to, as well as documents relating to the wait time and the DealerTrack access.

       For the reasons stated above, plaintiff respectfully request that this court compel defendants
to produce all documents found in the document production request sent on February 26 and March
14, within fourteen days of the date this letter is so ordered.

       II.     Plaintiff Request for an Extension of Time to Complete Discovery

       Pursuant to Your Honors order dated February 1, 2023, Your Honor stated that all
depositions shall be completed by March 24, 2023 and any premotion conference requests shall be
made to Judge Gonzalez by April 10, 2023. See Order dated February 1, 2023. Plaintiff has
completed all the defendant’s depositions in the matter but in the course of the depositions, plaintiff
sent out two additional Document Production Requests, on February 26, 2023 and another on
March 14, 2023. See Exhibit 1 and 2. At the moment, defendants have until March 27, 2023, and
April 13, 2023, to respond to plaintiffs document production request that plaintiff have sent to
defendants.

       As the times for defendants to respond to plaintiff’s document demands is past the March
24, 2023 deadline, plaintiff respectfully request that the court grant an extension of time of thirty
(30) days for the defendants to respond to plaintiffs document production requests. This would
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mean that the time to complete discovery in the matter will be until April 23, 2023. Plaintiff had
asked defendants originally when they sent their 3rd document production request if they consent
to an extension of time to complete discovery and to that defendants just asked if we were available
Friday to meet and confer. From the time that plaintiff sent their 3rd document production request
up to the time that plaintiff is writing this letter, defendants never provided an answer to plaintiffs
request but were so focused on meeting and conferring to decide if we should extend time for
discovery. Even when plaintiff asked defendant on March 21, 2023, if they consent to an extension
of time to discovery, defense counsel insisted to wait until the parties met on Friday, the date that
discovery was supposed to end to decide if an extension was appropriate. Since defendants have
failed to provide an answer within reasonable time after being asked on two separate occasions the
court should find that such extension request will not prejudice them in any way.

       For the reasons stated above, plaintiff respectfully request that the time to complete all
discovery in the matter be extended from March 24, 2023, to April 23, 2023.

        III.   Conclusion

        For the reasons stated above plaintiff respectfully request this court to extend the discovery
period in the matter from March 24, 2023, to April 23, 2023 to allow defendants to respond to
plaintiffs demands and for plaintiff to review the documents prior to dispositive motion practice.
Additionally, plaintiff respectfully request this court to compel defendants to provide all the
documents outlined in the document production request sent to them on February 26 and March
14, 2023 respectively within fourteen (14) days of the date this letter is so-ordered.

        We thank the court for its time and consideration in this matter.

                                                   Respectfully submitted,
                                                   TROY LAW, PLLC

                                                    /s/ John Troy
                                                   John Troy, Esq.
                                                   Attorney for Plaintiffs



JT/gd

cc: via ECF
    all counsel of record
